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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Case No. 20-CR-83(1) (MJD/DTS)

United States of America,

                        Plaintiff,           DEFENDANT’S MOTION FOR
                                             REVIEW OF THE PRETRIAL
                                             RELEASE ORDER AND TO RELEASE
                                             THE DEFENDANT CONDITIONALLY


vs.

Javier Silva-Figuero,

                        Defendant.



       The Defendant, Javier Silva-Figuero, by and through his attorney, Andrew S.

Garvis, Koch & Garvis, LLC, and pursuant to 18 U.S.C.§ 3145(b) and Fed. R. Crim. P.

46 moves this court to review the detention order of Magistrate Judge Tony Leung de

novo and find that the rebuttable presumption under 18 U.S.C. §3142(e)(3)(A) has been

rebutted and that there are conditions that can be imposed on Mr. Silva-Figuero that will

protect the public and assure his attendance at future court hearings. This Motion is based

on the files, records and proceedings herein, as well as the argument of counsel at the

hearing of said Motion.




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                                         Respectfully submitted,

                                         KOCH AND GARVIS, LLC


Dated: September 15, 2020                s/ Andrew S. Garvis
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